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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|VIS|ON

 

 

 

UN|TED STATES OF AMER|CA
P|aintiff

VS.
CR. NO. 04-20350-D

KEV|N DOUGLAS |V||CKSCH

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlay 19, 2005. At that time, counsel for the
defendant requested a continuance ofthe June 6, 2005 trial date and requested a Change
of P|ea hearing date.

The Court granted the request and resetthe trial date to Ju|y 5, 2005 with a Q_ha_ngg
of P|ea hearing date of Thursdav, June 30. 2005. at 10:45 a.m., in Courtroom 3, ch
w of the Federal Building, l\/|emphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy triai.

|T IS SO ORDERED this Q'{`O day Of N|ay, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CR-20350 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

